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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DISTRICT OF COLUMBIA,
Plaintiff,

: No. 1:21-CV-03267-APM

PROUD BOYS, INTERNATIONAL, L.L.C., et al.,
Defendants.

 

 

ORDER AUTHORIZING ALTERNATIVE SERVICE

Pursuant to Fed. R. Civ. P. 4(e)(1) and D.C. Sup. Ct. Civ. R. 4(e)(3), the Court
grants Plaintiff's Motion for Order Authorizing Alternative Service.

Accordingly, it is hereby ORDERED that:

1. For Defendants Schaffer and Vallejo, the District shall complete service by placing
a summons and the Amended Complaint at the base of (or, if practicable, affixing
the same documents to) the front door of the residences located at, and also sending
a summons and the Amended Complaint by first-class mail to, the following
addresses:

a. 364 Waldorf Drive, Auburndale, FL 33823 (Schaffer)
b. 3342 E. Monte Vista Rd., Phoenix, AZ 85008 (Vallejo)
c. 3501 E. Windsor Ave., Phoenix, AZ 85008 (Vallejo)
d. 1811 N. 31% St., 2, Phoenix, AZ 85008 (Vallejo)

2. The District must file a declaration confirming that the above-described service
has been completed consistent with the terms of this ORDER.

3. For good cause, the District’s time to complete service on Schaffer and Vallejo is
hereby extended for ten days from the date of this Order.

4. In addition, Plaintiff's counsel shall deliver a copy of the court's Order to

counsel of record for Schaffer and Vallejo in their criminal matters.
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~ Hon. Ami t-P-Mehta

United nei Court Judge

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